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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    HONX, INC.,1                                                     ) Case No. 22-90035 (MI)
                                                                     )
                             Debtor.                                 )
                                                                     )

                    BURNS CHAREST’S RESPONSE TO ORDER [ECF NO. 643]

             Burns Charest, by and through its undersigned counsel, hereby submits the following

Response to the Order (the “Order”) [ECF. No. 643] in the above-captioned chapter 11 case (the

“Chapter 11 Case”) of HONX, Inc. (the “Debtor”).

                                                   RESPONSE

             This is the second time a discovery order has been issued with respect to Burns Charest

and its clients in response to an emergency discovery motion without Burns Charest having any

opportunity to respond substantively. What’s more, today’s Order is in response to an Emergency

Motion that was not directed against Burns Charest. As has been true throughout this case, the

Court is getting only part of the story from the Debtor. And that part of the story is deliberately

misleading and ripe with material omissions.

             Burns Charest responds now to the Court’s Order and provides additional information that

the Debtor chose not to provide to the Court.

Burns Charest Has Complied and Will Continue to Comply with the Court’s January 13
Order




1
  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is HONX, Inc. (2163). The location of the Debtor’s service address in this chapter 11 case is: 1501 McKinney Street,
Houston, Texas 77010.
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        1.      Burns Charest has produced all non-privileged documents within its possession,

custody, and control, that it has identified as responsive to the Debtor’s third and fourth requests

for production of documents (“Third and Fourth Requests”), which were the subject of the January

13, 2023 hearing.

        2.      On January 19, 2023, Burns Charest met and conferred with the Debtor, the UCC,

and FCR regarding the status of production responsive to the Court’s order. At that time, Burns

Charest informed the debtor that it would agree that the voluminous materials produced during the

mediation process could be used for general purposes, including thousands of documents

comprising B-reads, Pulmonary Function Tests, and other medical records, relating to potential

claims by its clients.

        3.      Further, on January 19, 2023, Burns Charest informed the Debtor of its desire to

produce approximately 1,400 documents comprising intake questionnaires or other

communications provided by its clients. Although privileged, Burns Charest agreed to produce

the documents after the Debtor agreed that it would not argue that the production of these

documents constituted a waiver of privilege or work product. The documents were produced on

January 23, 2023.

        4.      Further, on January 19, 2023, Burns Charest informed the Debtor that it would

review all its files again to ensure that no additional, responsive documents existed. Burns Charest

committed that if any such documents were found, they would be produced no later than January

27, 2023, after the search was concluded. To date, no additional documents have been found.

        5.      Finally, on January 19, 2023, Burns Charest informed the debtor that it was in the

process of reaching out to all its clients (over 900 individuals, many of whom do not use email) to

ensure that they provided any additional documents in their possession, custody, or control, that



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might arguably be responsive to discovery requests propounded on their law firm. Burns Charest

informed the Debtor that it had arranged for such documents (if any) to be scanned and that they

would be produced to the extent they became available. This process continues.

       6.      At no time (1) during the meet and confer on January 19, 2023, (2) a subsequent

meet and confer conducted on January 20, 2023, resolving a separate issue, or (3) anytime

thereafter, did the debtor express any concerns with the process Burns Charest laid out or the timing

of any production. Further, the Debtor did not raise any issues related to the same in a motion

directed at Burns Charest.

Dated: January 25, 2023

                                              Respectfully submitted,

                                              /s/ Warren T. Burns
                                              Warren T. Burns
                                              State Bar No. 24053119
                                              Daniel H. Charest
                                              State Bar No. 24057803
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                                CERTIFICATE OF SERVICE

        I certify that on January 25, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                    /s/ Warren T. Burns
                                                    Warren T. Burns




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